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                               CIVIL DiSTRICT COtfRT FOR THE PARISH OF ORLEANS

                                                   STATE OF LOTISIANA

           NIIMBER: 2018-10864                                                                  DW. A, SEC.            16

                                                          JOHN DOE
                                                                                                                tà
                                                             Versus          ',    :
                                                                             .', '.) "í1
             THE ROMAN                                                             AND T
                                         DEACONGEORGEBRIGNAC .,.:: { T,1
                               CATHOLIC CHURCH OF TFIE ARCHDIOCESE OF NEW ORL-ËANS

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                                                                                                   :_)

           FILEÐ:                                                                                  :."1

                                                                   DEPI.ITY CLERK


                            SPECIAL MASTER'S qJ1PORT ANp RECOMMENDATIONS

                    On October   17   , 2019, the following Motions came on for hearing before the Special

           Master, the Honorable Carolya Gill-Jefferson.

                    1.      Motion to Compel Compliance with Subpoena and for Sanctions filed by


                  2.        Motion to lntervene and Opposed Motion to Compel

                  J.        Motion to Quash and for Protective O¡der

                            The A¡chdiocese's Objections to Subpoena to Saints


           PRESENT:

                  JOHN H. DENENEA, JR. ¿nd SOREN E. GISLESON, Counsel fo¡ Plaintiff

                  EDwARD D. WEGMANN, BRODIE GLENN, and RICIIARD BORDELON,
                  Comsel for The Archdiocese ofNew Orleans

                  JAMES C. GULLOTTA, JR. and ANDREW D.L MENDEZ, Counsel for the
                 New Orleans Saints, LLC


                  Pu¡suant to the Court's Order Appointing Special Master on August 2, 2019, the Special

          Master makes this report including findings of fact and conclusions of law.

          FACTUAL FIITIDINGS:

                 The     plaintiff, iearned through discovery produced by the Archdiocese ofNew Orleans,

          that there have been communications between the Archdiocese of New Orleans and the New

          Orleans Saints,   LLC. The communications       referenced the handling of the sexual abuse claims

          made sùbject of this   litigation. As the New Orleans Saints, LLC is not a party to this litigation,

          the plaintiffsought to get this information by way of subpoena duces tecum.




                                                                                                                                 EXHIBIT 11
                                                                                              il-[1-l
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                     The subpoena duces tecum required that the documents be produced on or before

             August19,2019. lnresponsetothesubpoenaducestecum,TheNewOrleansSâintsLLC

             delivered to the plaintiffobjections to the subpoenaed documents.

                    The New Orleans Saints objection to the production of documents requested in the

            subpoena was based on the fact that at the dme, tl.ere was not protective order in place to protect

            the confidentiality of the documents.

                    The plaintiff fi"led this Motioa to Compel on September 13,2019.

                    The Archdiocese filed a Motion to I¡tervene and Oppose the Motion t Compel, Motion to


            Quash and for a Protective Order and the Archdiocese's Objections to Subpoena to Saints on

            October 9, 2019.

            RECOMMENDATIONS AND REASONS

                   The special Master recommends that the Motion ro compel is GRANTED in part and

            DEMED in part. With regard to the ganting of the Motion, the New Orleans Saints shall

           produce the requested documents in accordance with the Protective orderpreviously

           recommended on September       25,2019. The Special Master recommends that the Plaintiffs

           request for attorney fees is denied.

                   The special Master recommends that the Motion to euash is          GRANTED in part and

           DENIED in part. The Motion to Quash is DENIED. The Motion for the Protective Order is

           GRAI{TED. The production of documents shall be govemed by the protective order

           recommended on september      25,2019. Given the nature of tåese proceedings and the

           confidentiality of certain documents it is imperative that a Protective Order issue. Add.itionaily,

           the documents may contain private information of individuals who have no connection with the

           parties and./or the allegations made in   tle lawsuit.   The protective order provides privacy of their

           infonnation.

                  The parties stipulated to the Motion to Intervene and oppose Motion to compel ñted by

          the Archdiocese   ofNew Orleans.

          CONCLUSION:

                  The speciai Master recommends to the court that the Motion to compel is           GRÄNTED

          in part and DEMED as noted above.

                  It is further recommended that the Motion to Quash be DE¡¡:IED and a Protective Order

          issue in conformity with the previously recommended Protective Order
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                   It is furtherrecommended that the Motion to lntervene and Oppose Motion to Compel is

            entered as a Stipulation between the parties.




                                                                    Respectfu   lly submitted,




                                            CERTIFTCATE OFSERVICE

                  I hereby certify that a copy ofthe above and foregoing pleading        has been served upon   all

           counsel of record by electronic mail on this the   7e   day ofNovember,2019.
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                                CIYÍL DISTRICT COIJRT F'ORTIIß PARISII OF ORLEANS

                                                       STATE OFLOÛISIANA


             DOCKE? NO. 2018-10864                                                             DTWSION ilÀ.16''

                                                             JOIIN DOE

                                                               VERSUS

                                        TITEROMAN CATIIOLIC CHURCH OF TTTE
                                        ARCIIDIOCESE OFNEW ORLEANS, ET AL.

             FILED:
                                                                                               DEPUTYCLERK

                                    JUDG]VIENT ADOPTING SPECTAL MÂSTER'S
                               NOVE1I4BER 7.2019 REPORT AND RECOMMENDÀTIONS

                      The following matte¡s oame on for hearing before the Special Master, the Honorable

            Caroll.n Gill-Jeffersor¡ on October 17,2019

                      1.       Motion to Compel Compliance with Subpoena and for Sanctions, and to Compel

                               the New Orleâns Louisiana Saints, LLC the ("Saints LLC") ûled by plaintitr,

                               Joh¡ Doe   ('?laintiffl);

                      2.       Motion to lntervene and Oppose Plaíntifs Motion to Compel Compliance with

                               Subpoena and      for Sønctions and to Compel tåe Sai¡rts LLC filed by The Roman

                               Catholic Church of the Archdiocese of New O¡leans (the ..Archdiocese',);

                     3.        Motion to Quash and for Protective Order filed by the Arohdiocese and the Saints

                               LLC in regard to the'subpoena by Ptaintiffto the Saints LLC; and

                     4,        The Archdiocese's Objections to Subpoena Duces Tecum to the Saints LLC.;

                     WHEREAS, on November 7, 2t19, the Special Master issued the Special Master's

           Report and Recommendations regarding eacb ofthe above-referenced matters (the "November 7,

           201 9   Report');

                     V/HEREAS, the Court's August 2, 2019 Order Appointing Special Master provided the

           parties a ten (10) day objection period after dre submission      ofthe Special Master's Report to the

           Court and provided that        if   no timely objection was filed the Court shall adopt the Report   as

           submitted, unless to do wor¡ld be clearly effo!.eous.

                     WI{EREAS, no party filed any objection to the Novembe¡ 7, 20i9 Report;


           {N3963567.?}


                                                                                                                n)
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                          The Court finds no clear enor and adopts the Special Master's November 7, 2019 Report

              and Recornmendations, and in acco¡dance with the       Rçort's recommend¿tions, renders judgment

              as   follows:

                          IT Is HEREBY     ORDERED, ADJUDGED AND DECREED tbat the A¡chdiocose's

              Motion to Inte¡ve,ne and oppose Plaintiffls Motion to compel is hereby GRANTED                    as

              stipulaæd by the parries;

                          ir   Is HEREBY FURTHER ORDERED, ADJUDGED AND DECREED rlat plaintifs

             Motion to compel is GRAlrlrED IN PART and DENIED IN pART; with regard to the granring

             of the Motion, the Saints LLC shall produoe the requested documerits in accordance with           the

             Protective Order previousty recommended by the Special Master and signed by the Court on

             october 28, 2019 and furtber recognized as tbe Judgment of the court on November 14,2glg;

             and PlaintifPs request for attorney,s fees is DENIEÐ,

                          IT Is   I{EREBY FURTHER ORÞERED, ADJUDGED AND DECREED that                          rhe

            A¡chdioccse's and the Saints LLC's Motion to Quash and for a protective Ordsï is GRANTED

            IN PART and DEMED IN PART. The Motion to Quash is DENIED; the Arcbdiocese's and rbe

            Saints    tLC's Motion for    Protective Order is CRANTED, aûd the production of documents by

            the Saints LLC shall be govemed by the Protective O¡der Court signed by the Court o¡ October

            28'2019 and f¡¡ther reçognized      as the   Judgment of tåe corxt on November 14,2t79.

                      IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED                        eaeh parry is to

            bea¡ their own costs and attomeys' fees incurred in connectío¡ witå the m¿tte¡s.

                      Tl{us      DONE AND SiGNED ar New orleao", Louisiana, tbis
                                                                                       _       day   of February,
            2020.




                                                             HONORABLE ELLEN M. HAZEUR
                                                             JIIDGE, DIVISION A




           (N3963J67,2¡
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                           The Court finds no clea¡ error and adopts the Special Master's November 7, 2019 Report

              and Recommendations, and in accordance        wit¡    the Report's recommendations, renders judgment

              as   follows:

                           IT IS HEREBY     ORDERED, ADJUDGED AND DECREED thar the A¡chdiocese's

             Motion to Intervene and oppose Plaintiffs Motion to compel is hereby GRANTED                         as

             stipulated by the parties;

                       IT IS FIEREBY FURTHER ORDERED, ADJUDGED AND DECREED that ptaintiffs

             Motion to compel is GRANTED IN PART and DENIED IN PART; with regard ro the granring

             of the Motion, the Saints LLC shall produce the requested documents in accordance with           the

             Protective Order previously recommended by the Special Master and signed by the Court on

             october 28,2019 and further recognized as the Judgment ofthe court on November 14,2019;

             and   Plaintifs     request for attomey's fees is DENIED.

                       I1 IS FIEREBY zuRTHER             ORDERED, ADJTIDGED AND DECREED that the

             Archdiocese's and the Saints LLC's Motion to Quash and for a Protective Order is GRANTED

             IN PART and DENIED IN PART. The Motion to Quash is DENIED; the Archdiocese's and the

            Saints LLC's Motion for Protective Order is GRANTED, and the production of documents by

            the Saints LLC shall be governed by the Protective Order Court signed by the Court on October

            28,2019 and further recognized as the Judgment of the court on November 14,2}lg.

                      IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED each party is to

            bear their own costs and attorneys' fees incurred in connection with the matters.

                      THUs DoNE AND sIGNED ar New orteans, Louisiana,                ,tAF[lHl,0or r"u**y,
            2020.




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                                                             HOI(-oR.ÂBLE ELLEÑ M.
                                                             JUDGE, DTVISIONA




            {N39635é7.2}                                        2
                                                                                           s. Itr eæ,Ò
